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                        UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_____________________________________________________________________

 UNITED STATES OF AMERICA,                        Criminal No. 15-165 (26) (JRT/LIB)

                      Plaintiff,

 v.                                                ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
 JARVIS ALLEN KING,

                  Defendant.
________________________________________________________________________


       Deidre Aanstad and Melinda Williams, Assistant United States Attorneys,
       OFFICE OF THE UNITED STATES ATTORNEY, 300 South Fourth
       Street, Suite 600, Minneapolis, MN 55415, for the plaintiff.

       Kevin C. Cornwell, LAW OFFICE OF KEVIN C. CORNWELL, 102
       South 29th Avenue West, Suite 206, Duluth, MN 55806, for defendant.


       Based upon the Report and Recommendation of United States Magistrate Judge

Leo I. Brisbois, and after an independent review of the files, records and proceedings in

the above-entitled matter, IT IS HEREBY ORDERED THAT:

       Defendant’s Motion to Sever Defendant, [Docket No. 455], is DENIED without

prejudice.



Dated: February 26, 2016                  s/John R. Tunheim
at Minneapolis, Minnesota                 JOHN R. TUNHEIM
                                          Chief Judge
                                          United States District Court
